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WESTERN DIVISION
UNITED STATES OF AMERICA
v.
LONNIE SMITH 05cr20217-B
ORDER ON ARRAIGNMENT

This cause came to be heard on 93{¢¢_.“¢ 2 "/L 2095 the United States Attorney
for this district appeared on behalf of the g emment, and the defendant appeared in person and with
counsel:

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NAME§ w who is Retajnedeppoimed.
/ """'

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

T defendant, Who is not in custody, may stand on his present bond.

The defendant, (not havin§?d€gond) (being a staie*§isoner) (being a federal
prisoner) (being held Without bo pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. M

UNITED srA`TEs MAGISTRATE IUDGE

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CHARGES - 18:922g
firearms

Attorney assigned to Case: S. ]ohnson

Age: 53

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This notice confirms a copy of the document docketed as number 9 in
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Honorable J. Breen
US DISTRICT COURT

